                                                                    Motion DENIED.



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


EIGHT MILE STYLE, LLC; MARTIN
AFFILIATED, LLC,
                                              Civil Action No. 19-cv-00736
Plaintiffs,

                                              District Judge Aleta A. Trauger
vs.


SPOTIFY USA INC.; HARRY FOX
AGENCY, LLC,


Defendants.


                                              JURY DEMAND
SPOTIFY USA INC.,
Third-Party Plaintiff,


vs.


KOBALT MUSIC PUBLISHING AMERICA,
INC.,


Third-Party Defendant.




  EIGHT MILE STYLE, LLC’S AND MARTIN AFFILLIATED, LLC’S MOTION FOR
   LEAVE TO FILE A REPLY IN FURTHER SUPPORT OF THEIR MOTION FOR
     RECONSIDERATION AND FOR LEAVE TO EXPAND THE PAGE LIMIT




Case 3:19-cv-00736       Document 487   Filed 02/08/24   Page 1 of 2 PageID #: 40483
       Pursuant to Section (C)(3) of Your Honor’s Practice and Procedures Manual and Local

Rule 7.01(a)(4), Plaintiffs, Eight Mile Style, LLC and Martin Affiliated, LLC (collectively, “Eight

Mile Style”) respectfully moves the Court for leave to file a consolidated Reply in further support

of their Motion for Reconsideration responding to the points and authorities raised by Digital

Media Association (“DIMA”) and Spotify USA, Inc. (“Spotify”) in opposition to said Motion. In

support of this Motion, Eight Mile Style states the following:

       1.      The proposed Reply – a copy of which is submitted herewith – will assist the Court

in resolving Eight Mile Style’s Motion for Reconsideration, and the underlying Motion for Leave

to file an Amicus Curiae Brief filed by DIMA. Specifically, the proposed Reply: (1) addresses

and responds to DIMA and Spotify’s misplaced arguments and inapposite authority with respect

to their claim that Eight Mile Style basically does not have the right to be heard so this Court

should not reconsider its granting of DIMA’s Motion For Leave to file an Amicus Brief; (2)

addresses and responds to the substantive authority cited by DIMA and Spotify, which is not only

distinguishable from this matter, but is misquoted in certain instances, and is inconsistent with

Sixth Circuit authority governing this Court’s consideration of this issue; (3) addresses the

substantive facts contained in DIMA and Spotify’s respective Responses, such as DIMA’s

undeniable relationship with Spotify, and provides additional case law supporting the denial of

DIMA’s motion; and (4) addresses the fact that DIMA’s proposed Amicus is an expert report in

disguise. DIMA should have been disclosed as an expert if it or Spotify wished to have DIMA

submit custom and practice testimony and proffer the other facts and arguments it now makes, but

DIMA was not so disclosed. Eight Mile Style would have then had the opportunity to retain its

own expert to address the very points now raised by DIMA or otherwise challenge those opinions.




Case 3:19-cv-00736        Document 487        Filed 02/08/24      Page 2 of 2 PageID #: 40484
